 

Case: 1:08-cv-04420 Document #: 264-1 Filed: 02/08/11 Page 1 of 7 PagelD #:3349

IN THE UNITED STATES DISTRICT COURT F | L E D
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION FEB Q 8 2011 xX
BRET A. BROADDUS, C MICHAEL W, DOBBINS
LERK, U.S,
. Plaintiff/Counter-Defendant, ) S. DISTRICT COURT
)
v. ) Case No. 08-C-04420
)
KEVIN SHIELDS, ) Judge St. Eve
) Magistrate Judge Cole
Defendant/Counter-Plaintiff. )

CITATION TO DISCOVER ASSETS

To: Northern Trust Corporation and/or The Northern Trust Company
Legal Department
50 South La Salle Street (M-9)
Chicago, Illinois 60603

A judgment against Plaintiff/Counter-Defendant Bret A. Broaddus in the amount
of $798,619.16 plus post- judgment interest was entered on December 16, 2010 in favor
of Defendant/Counter-Plaintiff Kevin Shields. The entire amount of $798,619.16
remains unsatisfied, together with subsequently accruing interest. This Citation to
Discover Assets is issued on the basis of the foregoing judgment. On or after the court
date stated above, the court may compel the application of any discovered income or
assets toward payment on the judgment.

YOU ARE COMMANDED to appear before the Honorable Amy St. Eve of the
United States District Court for the Northern District of Illinois, Eastern Division,
Courtroom 1241, at 219 South Dearborn Street, Chicago, Illinois, on Wednesday, March
2, 2011, at 8.30 a.m. to be examined under oath to discover assets or income not exempt
from enforcement of a judgment. A judgment in favor of Kevin Shields and against Bret
A. Broaddus was entered on December 16, 2010, in the amount of $798,619.16, and
$798,619.16 remains unsatisfied.

YOU ARE COMMANDED to produce at the examination:

All books, papers or records in your possession or control relating to the accounts
of Bret A. Broaddus, or which may contain information concerning the property
or income of, or indebtedness due judgment debtor, including specifically, but not
exclusively, all items set forth in EXHIBIT A attached hereto.

YOU ARE PROHIBITED from making or allowing any transfer or other
disposition of, or interfering with, any property not exempt from execution or
garnishment belonging to the judgment debtor or to which the judgment debtor may be

 
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entitled or which may be acquired by or become due to the judgment debtor and from
paying over or otherwise disposing of any money not so exempt, which is due or
becomes due to the judgment debtor, until further order of court or termination of the
proceedings. You are not required to withhold the payment of any money beyond double
the amount of the judgment.

WARNING: YOUR FAILURE TO APPEAR IN COURT AS HEREIN DIRECTED
MAY CAUSE YOU TO BE ARRESTED AND BROUGHT BEFORE THE COURT
TO ANSWER TO A CHARGE OF CONTEMPT OF COURT, WHICH MAY BE
PUNISHABLE BY IMPRISONMENT.

 

CLERK

 

DATE

 

BY: DEPUTY CLERK

 

 
 

 

 

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CERTIFICATE OF ATTORNEY

This Citation is accompanied by a copy of the underlying judgment against Bret A.
Broaddus and in favor of Kevin Shields.

The judgment is in the amount of $798,619.16, together with legal interest after
judgment. The judgment was entered on December 16, 2010 by the Honorable Amy St. Eve,
United States District Court for the Northern District of Illinois, in Case No. 08-C-4420.

I, the undersigned, hereby certify to the court under penalties as provided by law pursuant
to 735 ILCS 5/1-109 that the foregoing information is true.

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Thomas I. Matyas (ARDC No. 1796984)

Megan M. Lazar (ARDC No. 6293103)

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Attorneys for Defendant/Counter-Plaintiff Kevin Shields

 
 

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EXHIBIT A

(a) ‘All records for any and all bank, investment or other accounts held by or for
Plaintiff/Counter-Defendant/Judgment Debtor Bret A. Broaddus (“Broaddus”) or in
which Broaddus has or had an ‘interest during the period from 2007 to the date-of service
of this Citation to Discover Assets, including but not limited to certificates of deposit (or
copies or details of same), savings passbooks, checking accounts, checkbook registers,
plus copies of all money orders, bank checks and cashiers checks related to the same;

(b) The legal description and all deeds, title insurance policies, and plats of survey of any and
all real estate in which Broaddus has, had or may have any legal or beneficial interest
during the period from 2007 to the date of service of this Citation to Discover Assets,
including but not limited to deeds, title policies, and plat(s) of survey for same;

| (c) All trust agreements of any type whatsoever, including, but not limited to land trusts,
testamentary trusts, and inter vivos trusts, in which Broaddus has an interest or had an
interest, or under which Broaddus is a beneficiary or was a beneficiary during the period
from 2007 to the date of service of this Citation to Discover Assets;

(d) All documents relating to any and all stocks, bonds, debentures, mutual funds, limited or
‘general partnership information, brokerage accounts, or investments of any type or nature
going, or a summary thereof, owned by or in which of Broaddus has, had, or may have an
interest during the period from 2007 to the date of service of this Citation to Discover

Assets;

(e) The membership certificates and operating agreement(s) for any and all limited liability
companies in which Broaddus is or at any time was a member during the period from
2007 to the date of service of this Citation to Discover Assets;

(f) All insurance policies (and applications therefore) in which Broaddus has, had or may
have an interest as owner or beneficiary or had an interest as owner or beneficiary during
the period from 2007 to the date of service of this Citation to Discover Assets;

(g) All documents demonstrating all cash on hand of Broaddus during the period from 2007
to the date of service of this Citation to Discover Assets;

(h) All documents listing, identifying, or demonstrating any assets whatsoever, including but
not limited to, jewelry, electronics, artwork, furniture, etc., valued or purchased for an

 
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amount in excess of $2,500 owned by Broaddus or in which Broaddus has, had or may
have an interest at any time during the period from 2007 to the date of service of this

Citation to Discover Assets;

(1) Titles to all motor vehicles, boats, trailers, snowmobiles, motorcycles, construction
equipment, or other vehicles, commercial assets, or recreational assets owned by
Broaddus or in which Broaddus had or has an interest at any time during the period from

2007 to the date of service of this Citation to Discover Assets;

Q) All state and federal income tax returns, including all drafts: thereof, with all schedules
and supporting documents for the years 2007, 2008 and 2009;

(k) . All of Broaddus’s financial statements or statements of net worth completed at any time

during the period from 2007 to the date of service of this Citation to Discover Assets;

(1) Any and all documentation memorializing or relating to any sale or transfer, or potential
sale or transfer, made on or after January 1, 2000, by or at the direction of Broaddus to
any third party of any asset owned by or in which Broaddus has or had an interest and
which is valued in excess of $2,500, including but not limited to purchase or sale
transaction agreements, related schedules, exhibits, appendices, and annexes (including
but not limited to any amendments, restatements or supplements to any of the foregoing),
and any due diligence materials in connection therewith; |

(m) Any and all documentation memorializing or relating to any loans, debts, monies, or
obligations owed to Broaddus, or which Broaddus may own, control or in which
Broaddus had, has or may an interest, during the period from 2007 to the date of service

of this Citation to Discover Assets;

(n) Any and all documentation of Broaddus’ assets or liabilities submitted to any bank or
lending institution during the period from 2007 to the date of service of this Citation to
Discover Assets;

(0) An accounting of all transfers made to/from Broaddus to any third-party and a statement
of anything of value received in exchange for each such transfer during the period from
2007 to the date of service of this Citation to Discover Assets.

(p) Documents evidencing or relating to the interest of Broaddus in any corporation, limited

liability company, partnership, limited partnership or any other type of entity.

 
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Documents evidencing or relating to any interest of Broaddus, directly, indirectly,

beneficially or otherwise, in any real estate, personal property or other type of property.
Documents related to the income of Broaddus for any and all sources.

Documents related to any assets, real, personal, mixed or other, which are held in
whatever form, including but not limited to trust, escrow or other means, by any person

or entity for the present or future Broaddus.

- All documents related to all wills, trusts or other like instruments of Broaddus or created
by Broaddus.

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BRET A. BROADDUS, )
Plaintiff/Counter-Defendant,
v. } Case No. 08-C-04420
KEVIN SHIELDS, Judge St. Eve
Defendant/Counter-Plaintiff.

FINAL JUDGMENT

This matter coming before the Court on Defendant/Counter-Plaintiff's Motion for
Entry of Final Judgment, pursuant to Rule 58 of the Federal Rules of Civil Procedure,
and this Court's November 12, 2010 Memorandum Opinion and Order (Doc. 244), due
notice having been given to all parties and the Court being fully advised in the premises:

Judgment is hereby entered in favor of Defendant/Counter-Plaintiff Kevin Shields
(“Shields”) and against Plaintiff/Counter-Defendant Bret A. Broadus (“Broaddus”) in
the amount of $798,619.16, together with applicable post-judgment interest thereon at the
legal rate as set forth in 28 U.S.C. § 1961 from and after the entry of this judgment.

IT IS FURTHER ORDERED that Shields’ motion to withdraw his request for
real estate business damages in Count I of his Counter-Claims is GRANTED. .
EN D:

4 LA ‘ Dated: December 16, 2010

Honorable Ghdge Amy J. St. Eve

  

 

 

  

Submitted by:

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: (312) 201-2555 2 EPUTY CLERK
Attorneys for Defendant/Counter-Plaintiff Kevin Shields U. S. DISTRICT COURT, NORTHERN

SISTRICT OF ILLINOIS

 

 

 
